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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                                                        CASE NUMBER: 8:15CR195-002
                        Plaintiff,                      USM Number: 26406-047
        vs.
                                                        JAMES J. REGAN
OLMAN RODAS-RAMOS                                       DEFENDANT’S ATTORNEY

                        Defendant.

                                  JUDGMENT IN A CRIMINAL CASE
                        (For Offenses Committed On or After November 1, 1987)

THE DEFENDANT pleaded guilty to counts II and IV of the Indictment on January 7, 2016.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offenses:

        Title, Section & Nature of Offense                Date Offense Concluded          Count Number

21:841(a)(1) and 21:841(b)(1) DISTRIBUTION OF                September 5, 2014                    II
METHAMPHETAMINE
8:1326(a) and 1326(b)(1) REENTRY OF A                           June 1, 2015                     IV
REMOVED ALIEN AFTER HAVING BEEN
CONVICTED OF A FELONY

The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

Count I of the Indictment is dismissed on the motion of the United States as to this defendant only.

Following the imposition of sentence, the Court advised the defendant of the right to appeal pursuant to
the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and that such Notice of
Appeal must be filed with the Clerk of this Court within fourteen (14) days of this date pursuant to Fed. R.
App. P. 4.

The defendant shall cooperate in the collection of DNA, pursuant to Public Law 108-405 (Revised DNA
Collection Requirements under the Justice for All Act of 2004).

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days
of any change of name, residence, or mailing address until all fines, restitution, costs and special
assessments imposed by this judgment are fully paid. If ordered to pay restitution, the defendant shall
notify the court and United States attorney of any material change in the defendant’s economic
circumstances.

                                                                  Date of Imposition of Sentence:
                                                                  April 01, 2016

                                                                  s/ Joseph F. Bataillon
                                                                  Senior United States District Judge

                                                                  April 1, 2016
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                                           IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of thirty-six (36) months on Count I and thirty-six (36) months on Count IV, to
run concurrent.

The Court makes the following recommendations to the Bureau of Prisons:

    1. That the defendant participate in the 500-hour Comprehensive Drug Treatment Program or any
       similar drug treatment program available.

    2. That the defendant be incarcerated in a federal facility as close to Denver, CO as possible.

    3. Defendant should be given credit for time served.


    (X)         The defendant is remanded to the custody of the United States Marshal.

                                ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ________________, 20___.

                                                                 _____________________________
                                                                       Signature of Defendant

                                               RETURN

It is hereby acknowledged that the defendant was delivered on the ___ day of _____________, 20____
to ______________________________________, with a certified copy of this judgment.

                                                                 _____________________________
                                                                       UNITED STATES WARDEN

                                                                 BY: _________________________

NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of Receipt, above.

                                            CERTIFICATE

It is hereby certified that a copy of this judgment was served upon the defendant this ____ day of
______________, 20____.

                                                                 _____________________________
                                                                       UNITED STATES WARDEN

                                                                 BY: __________________________
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                                        SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of three (3)
years on Count I and three (3) years on Count IV, to run concurrent.

The defendant shall report to the probation office in the district to which the defendant is released within
72 hours of release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any
unlawful use of a controlled substance. The defendant shall submit to one drug test within 15 days of
release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay
in accordance with the Schedule of Payments sheet of this judgment.

The defendant must comply with standard conditions that have been adopted by this court as well as with
any additional conditions on the attached page.

                           STANDARD CONDITIONS OF SUPERVISION

1.      The defendant shall not leave the judicial district without the permission of the court or probation
        officer;
2.      The defendant shall report to the probation officer in a manner and frequency directed by the
        court or probation officer.
3.      The defendant shall answer truthfully all inquiries by the probation officer and follow the
        instructions of the probation officer;
4.      The defendant shall support his or her dependents and meet other family responsibilities;
5.      The defendant shall work regularly at a lawful occupation, unless excused by the probation officer
        for schooling, training, or other acceptable reasons;
6.      The defendant shall notify the probation officer at least ten days prior to any change in residence
        or employment;
7.      The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use,
        distribute, or administer any controlled substance or any paraphernalia related to any controlled
        substances, except as prescribed by a physician;
8.      The defendant shall not frequent places where controlled substances are illegally sold, used,
        distributed, or administered;
9.      The defendant shall not associate with any persons engaged in criminal activity and shall not
        associate with any person convicted of a felony, unless granted permission to do so by the
        probation officer;
10.     The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere
        and shall permit confiscation of any contraband observed in plain view of the probation officer;
11.     The defendant shall notify the probation officer within seventy-two hours of being arrested or
        questioned by a law enforcement officer;
12.     The defendant shall not enter into any agreement to act as an informer or a special agent of a law
        enforcement agency without the permission of the court;
13.     As directed by the probation officer, the defendant shall notify third parties of risks that may be
        occasioned by the defendant’s criminal record or personal history or characteristics and shall
        permit the probation officer to make such notifications and to confirm the defendant’s compliance
        with such notification requirement.
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                               SPECIAL CONDITIONS OF SUPERVISION

1.      The defendant shall cooperate in the collection of DNA as directed by the probation officer,
        pursuant to 28 C.F.R. § 28.12, the DNA Fingerprint Act of 2005, and the Adam Walsh Child
        Protection and Safety Act of 2006, if such sample was not collected during imprisonment.

2.      The defendant shall submit his or her person, residence, office, or vehicle to a search conducted
        by a United States Probation Officer at any time; failure to submit to a search may be grounds for
        revocation; the defendant shall warn any other residents that the premises may be subject to
        searches pursuant to this condition.

3.      The defendant shall comply with all rules and regulations of the Bureau of Immigration Customs
        Enforcement and, if deported, shall not reenter the United States or reside therein without the
        express, written permission of the Secretary of the United States Department of Homeland
        Security.

4.      The defendant shall provide the probation officer with access to any requested financial
        information.

5.      The requirement of 18 U.S.C. § 3583(d) regarding drug testing within fifteen (15) days of release
        on supervised release and at least two (2) periodic drug tests thereafter, is suspended until
        further order of the Court because it appears the defendant will be deported.

6.      The defendant shall report to the Supervision Unit of the U.S. Probation Office for the District of
        Nebraska between the hours of 8:00 a.m. and 4:30 p.m., 111 South 18th Plaza, Suite C79,
        Omaha, Nebraska, (402) 661-7555, within seventy-two (72) hours of being placed on probation or
        release from confinement and/or return to the United States, and, thereafter, as directed by the
        probation officer.
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                                CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of
payments set forth in this judgment.

       Total Assessment                         Total Fine                      Total Restitution

            $200.00


                                                  FINE
No fine imposed.

                                             RESTITUTION

No restitution imposed.

                                     SCHEDULE OF PAYMENTS


The defendant shall pay the special assessment in the amount of $200.00 immediately.

The criminal monetary penalty is due in full on the date of the judgment. The defendant is obligated to
pay said sum immediately if he or she has the capacity to do so. The United States of America may
institute civil collection proceedings at any time to satisfy all or any portion of the criminal monetary
penalty.

Without limiting the foregoing, and during the defendant’s term of incarceration, the defendant shall
participate in the Bureau of Prisons’ Financial Inmate Responsibility Program. Using such Program, the
defendant shall pay 50% of the available inmate institutional funds per quarter towards the criminal
monetary penalty.

Without limiting the foregoing, and following release from prison, the defendant shall make payments to
satisfy the criminal monetary penalty in the following manner: (a) monthly installments of $100 or 3% of
the defendant’s gross income, whichever is greater; (b) the first payment shall commence 30 days
following the defendant’s discharge from incarceration, and continue until the criminal monetary penalty is
paid in full; and (c) the defendant shall be responsible for providing proof of payment to the probation
officer as directed.

Any payments made on the outstanding criminal monetary penalty shall be applied in the following order
of priority: special assessment; restitution; fine; and other penalties. Unless otherwise specifically
ordered, all criminal monetary penalty payments, except those payments made through the Federal
Bureau of Prisons’ Inmate Financial Responsibility Program, shall be made to the clerk of the Court.
Unless otherwise specifically ordered, interest shall not accrue on the criminal monetary penalty.

All financial penalty payments are to be made to the Clerk of the U. S. District Court, 111 S. 18th Plaza,
Suite 1152, Omaha, NE 68102-1322.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

The defendant shall inform the probation officer of any change in his or her economic circumstances
affecting the ability to make monthly installments, or increase the monthly payment amount, as ordered
by the court.
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The defendant is restrained from transferring any real or personal property, unless it is necessary to
liquidate and apply the proceeds of such property as full or partial payment of the criminal monetary
penalty.




CLERK'S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
